                                                   Notice Recipients
District/Off: 1126−8                      User: admin                        Date Created: 02/06/2020
Case: 20−80380−CRJ7                       Form ID: 309A                      Total: 60


Recipients submitted to the BNC (Bankruptcy Noticing Center) without an address:
10360040 NOTICE TO ALL CREDITORS
                                                                                                               TOTAL: 1

Recipients submitted to the BNC (Bankruptcy Noticing Center):
db          David Wayne Hamm          418 Gann Blvd Apt 104 H         Tuscumbia, AL 35674
tr          Tazewell Shepard       Tazewell Shepard, Trustee       PO Box 19045         Huntsville, AL 35804
aty         Tanya H McCalpin         Bond, Botes, Sykstus, Tanner & McNutt, P.C.       102 S Court St      Suite
            314       Florence, AL 35630
smg         Richard Blythe       BA Decatur         P O Box 3045       Decatur, AL 35602
10360015 1ST FRANKLIN FINANCIAL                  320 W AVALON AVE            MUSCLE SHOALS, AL 35661
10360016 AMAZON SYNCB                PO BOX 981400           EL PASO, TX 79998
10360018 AMSOUTH BANK                2050 PARKWAY OFFICE CIRCLE                HOOVER, AL 35244
10360017 AMSOUTH BANK                P O BOX 1984          BIRMINGHAM, AL 35201
10360052 ARS NATIONAL SERVICES                   PO BOX 469046        ESCONDIDO, CA 92046
10360020 BANK OF AMERICA                P O BOX 53138          PHOENIX, AZ 85072
10360019 BANK OF AMERICA                PO BOX 15646          WILMINGTON, DE 19850−5646
10360021 BARCLAYS BANK OF DELAWARE                       PO BOX 13337        PHILADELPHIA, PA 19101−3337
10360022 BEER SIMON & ASSOCIATES                   PO BOX 757        FLORENCE, AL 35631
10360053 BEN L ZARZAUR               P O BOX 11366          BIRMINGHAM, AL 35202
10360054 BEN ZARZAUR               P O BOX 11366          BIRMINGHAM, AL 35202
10360023 BOBBY MCKISSACK                 1514 COURTVIEW TOWERS               FLORENCE, AL 35630
10360024 CAPITAL ONE BANK                PO BOX 85015          RICHMOND, VA 23285−5015
10360025 CARDIOVASCULAR INST OF THE SHOALS                       2095 FLORENCE BLVD             FLORENCE, AL
            35630
10360012 CHEXSYSTEMS               ATTN: CONSUMER RELATIONS                 7805 HUDSON ROAD, SUITE
            100       WOODBURY, MN 55125
10360026 CHRISTOPHER MORGAN                    418 GANN BLVD APT 104 H            TUSCUMBIA, AL 35674
10360027 DISCOVER             PO BOX 15251           WILMINGTON, DE 19886−5251
10360028 DISCOVER CARD               PO BOX 30943           SALT LAKE CITY, UT 84130
10360029 DISCOVER FINANCE SERVICES                    P O BOX 8003        HILLIARD, OH 43026
10360030 ECM            PO BOX 10005          FLORENCE, AL 35630
10360010 EQUIFAX INFORMATION SERVICES, LLC                      PO BOX 740256          ATLANTA, GA 30374
10360009 EXPERIAN             PO BOX 2002           ALLEN, TX 75013
10360013 FARMERS HOME FURNITURE                     PO BOX 1140        DUBLIN, GA 31040
10360031 FINGERHUT WEBBANK                   6250 RIDGEWOOD ROAD              SAINT CLOUD, MN 56303
10360014 FMC−OMAHA SERVICE CTR                    P O BOX 542000         OMAHA, NE 68154
10360055 FRANKLIN COLLECTION                   PO BOX 3910        TUPELO, MS 38803
10360032 GREEN TREE AL LLC                345 ST PETER ST         LANDMARK TOWERS SUITE 800                 SAINT PAUL,
            MN 55102
10360033 GREEN TREE AL LLC                P O BOX 6154         RAPID CITY, SD 57709
10360034 GREENTREE FINANCIAL                   800 LANDMARK TOWERS               345 ST PETER STREET          SAINT PAUL,
            MN 55102
10360035 HELEN KELLER HOSPITAL                   PO BOX 610        SHEFFIELD, AL 35660
10360056 JACOB LAW GROUP PLLC                   2623 WEST OXFORD LOOP              P O BOX 948        OXFORD, MS
            38655
10360057 JASON BRADY PATRICK                   PO BOX 312277        ENTERPRISE, AL 36331
10360058 JEFFERSON CAPITAL                PO BOX 772813          CHICAGO, IL 60677
10360059 LVNV FUNDING               625 PILOT ROAD SUITE 2/3            LAS VEGAS, NV 89119
10360036 LVNV FUNDING LLC                ASSIGNEE OF CITIFINANCIAL               RESURGENT CAPITAL SERVICES PO
            BOX 10587         GREENVILLE, SC 29603
10360060 MEDICAL REVENUE SERVICE                    645 WALNUT STREET SUITE 5             GADSDEN, AL 35902
10360037 MERCURY CARD FB&T                   700 22ND AVE SOUTH           BROOKINGS, SD 57006
10360061 MIDLAND FUNDING LLC                   2365 NORTHSIDE DE STE 300            SAN DIEGO, CA 92108
10360038 NORTH ALABAMA MEDICAL CENTER                        1701 VETERANS DRIVE            FLORENCE, AL 35630
10360039 NORTH ALABAMA PHYSICIAN SERVICE                       PO BOX 939          SHEFFIELD, AL 35660
10360062 PORTFOLIO RECOVERY                   120 CORPORATE BLVD STE 100              NORFOLK, VA 23502−4962
10360063 RADIUS GLOBAL SOLUTIONS                    P O BOX 390846        MINNEAPOLIS, MN 55439
10360041 REGIONAL FINANCE                163 COX CREEK PKWY              FLORENCE, AL 35630
10360042 REGIONS BANK               PO BOX 10063          BIRMINGHAM, AL 35202−0063
10360043 SEARS            PO BOX 182156           COLUMBUS, OH 43218
10360044 SECURITY FINANCIAL                 PO BOX 3146         SPARTANBURG, SC 29304
10360064 SMITH ROUCHON & ASSOCIATES                     1110 BRADSHAW DRIVE              FLORENCE, AL 35630
10360045 SYNCB CARE CREDIT                 P O BOX 965036         ORLANDO, FL 32896
10360046 SYNCB PAYPAL               P O BOX 965005          ORLANDO, FL 32896
10360047 SYNCB WALMART                 4125 WINDWARD PLAZA               ALPHARETTA, GA 30005
10360048 SYNCHRONY BANK                 PO BOX 965022           ORLANDO, FL 32896
10360049 TENNESSEE VALLEY GASTROENTEROLOGY                          416 N SEMINARY STREET SUITE
            3100       FLORENCE, AL 35630

    Case 20-80380-CRJ7 Doc 6-1 Filed 02/06/20 Entered 02/06/20 12:36:10                                       Desc Ch 7
                    First Mtg I/J No POC: Notice Recipients Page 1 of 2
10360050   TOWER LOAN      406 LIBERTY PARK CT     FLOWOOD, MS 39232
10360011   TRANSUNION      PO BOX 2000     CHESTER, PA 19022
10360051   WORLD FINANCE       108 FREDERICK ST N    GREENVILLE, SC 29606
                                                                            TOTAL: 59




    Case 20-80380-CRJ7 Doc 6-1 Filed 02/06/20 Entered 02/06/20 12:36:10     Desc Ch 7
                    First Mtg I/J No POC: Notice Recipients Page 2 of 2
